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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                           Alexandria Division


UNITED STATES OF AMERICA,                      )
                                               )
      v.                                       )      No. 1:19-cr-59 (LO)
                                               )
DANIEL EVERETTE HALE,                          )      Trial: April 5, 2021
                                               )
                    Defendant.                 )


         DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION
      IN LIMINE TO ADMIT CERTAIN TRIAL EXHIBITS (Dkt. No. 170)

      The government’s Motion in Limine to Admit Certain Trial Exhibits (Dkt. No.

170) seeks pre-trial admissibility rulings regarding two categories of exhibits: i) eight

items in the “200” series of government exhibits relating to sale and distribution of a

book by the person identified in the Indictment as the Reporter; and ii) two

certificates in the ‘”700” series of government exhibits attesting to the non-existence

of certain government records. The defense has no objection to the admission of the

latter category (the two certificates of non-existence of records), but opposes the

admission of the former category of exhibits as irrelevant under Fed. R. Evid. 401 &

402, and – if these exhibits are found to be marginally relevant – as likely to confuse

the issues, cause undue delay and waste time under Fed. R. Evid. 403.

      With respect to the evidence regarding the sales of the Reporter’s book, the

government intends to offer the evidence to prove the value of the allegedly stolen

documents, which were reprinted in the book (an element of the theft offense charged

in Count Five is that the documents’ value must exceed $1,000). The theory goes,
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apparently, that if people or institutions were willing to pay for the book, they must

have been paying for copies of the documents, since the book was largely about the

documents. But, as the Indictment makes clear (and the evidence at trial will show),

the documents in question were widely available for free on the internet before the

book was published and remained so through the time the book was sold and, indeed,

through the present. Accordingly, the inference for which the government will offer

the book-sale evidence does not withstand even the simplest of scrutiny. It is like

attempting to prove the value of statutory text enacted by the United States Congress

(the text of which is available for free on the internet) by pointing to sales of law-

school textbooks which re-print the law in question, along with background

information and commentary about it. In either case (the Reporter’s book or the law-

school textbook) the most obvious inference – and really the only rational inference –

is that buyers of the book are paying for the author’s commentary rather than for

copies of the information that is already easily accessible for free. It simply does not

follow that any of the money spent on the book was spent to obtain copies of the

documents, much less that any substantial amount of it was. And even if some small

subset of the money spent on the book was for the purposes of obtaining copies of the

documents – itself a questionable proposition – the evidence would not even begin to

help the jury understand what percentage of the revenue is attributable to paying for

copies of the documents.

      In these circumstances, the evidence of the book sales does not even meet the

threshold definition of relevance in Fed. R. Evid. 401 – information that “has any



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tendency to make a fact of consequence more or less probable than it would be without

the evidence” – and should therefore be excluded under Fed. R. Evid. 402. Further,

even if the evidence were to qualify as relevant, it would be so minimally relevant in

these circumstances that it should be excluded under Fed. R. Evid. 403 as likely to

“confus[e] the issues, mislead[] the jury, [cause] undue delay, [or] wast[e] time.”

Accordingly, the government’s Motion in Limine should be denied with respect to the

eight “200” series exhibits listed in the Motion.



                                                Respectfully Submitted,

                                                DANIEL EVERETTE HALE
                                                By Counsel,

                                                Geremy C. Kamens
                                                Federal Public Defender

                                                      /s/
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                          CERTIFICATE OF SERVICE

    I hereby certify that on December 14, 2020, I filed the foregoing via the
CM/ECF system, which will electronically serve a copy upon all counsel of record.

                                                   /s/
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